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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JOSE ORTEGA HERNANDEZ,
on behalf of themselves,
FLSA Collective Plaintiffs                                          Case No:
and the Class,

                    Plaintiff,                                      CLASS AND
                                                                    COLLECTIVE
                    v.                                              ACTION COMPLAINT

NHR HUMAN RESOURCES, LLC, NEW HOLLAND
RESIDENCES, LLC, SUGAR HILL CAPITAL
PARTNERS LLC, MARGARET GROSSMAN, and
JEREMY SALZBERG                                                     Jury Trial Demanded

                     Defendants.


         Plaintiff JOSE ORTEGA HERNANDEZ (“Plaintiff”), on behalf of himself and others

similarly situated, by and through his undersigned attorneys, hereby file this Class and Collective

Action    Complaint against NHR HUMAN RESOURCES, LLC, NEW HOLLAND,

RESIDENCES, LLC, SUGAR HILL CAPITAL PARTNERS LLC (“Corporate Defendants”),

MARGARET GROSSMAN, and JEREMY SALZBERG (“Individual Defendants,” and together

with the Corporate Defendants, “Defendants”) and, upon information and belief, states as follows:




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                                         INTRODUCTION

       1.         Plaintiff alleges, pursuant to the Fair Labor Standards Act, as amended, 29 U.S.C.

§§201 et. seq. (“FLSA”), that they and others similarly situated are entitled to recover from

Defendants: (1) unpaid minimum wages (2) unpaid overtime wages, (3) unreimbursed costs and

maintenance for “tools of the trade,” (4) liquidated damages, and (5) attorneys’ fees and costs.

       2.         Plaintiff further alleges that, pursuant to the New York Labor Law (“NYLL”), they

and others similarly situated are entitled to recover from Defendants: (1) unpaid minimum wages

(2) unpaid overtime wages, (3) unreimbursed costs and maintenance for “tools of the trade,” , (4)

unpaid spread of hours premium, (5) statutory penalties, (6) liquidated damages, and (7) attorneys’

fees and costs.

       3.         Plaintiff JOSE ORTEGA HERNANDEZ further alleges, pursuant to 29 U.S.C.

§§151-169 and NYLL § 201-D, that due to Defendants’ retaliation against him, he is entitled to

recover from Defendants: (1) compensatory damages, (2) punitive damages, (3) attorneys’ fees

and costs, and all other penalties the Court deems appropriate.

                                      JURISDICTION AND VENUE

       4.         This Court has jurisdiction over this controversy pursuant to 29 U.S.C. §216(b), 28

U.S.C. §§1331, 1337 and 1343, and has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. §1367.

       5.         Venue is proper in the SOUTHERN District pursuant to 28 U.S.C. §1391.

                                              PARTIES

       6.         Plaintiff JOSE ORTEGA HERNANDEZ, for all relevant time periods, was a

resident of New York County, New York.




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         7.    Defendants own and operate numerous residential and commercial buildings and

apartments around the city.

         8.    Defendants’ buildings are operated as a single integrated enterprise. The buildings

are commonly owned and/or managed by the Individual Defendants. Specifically, the buildings

are engaged in related activities, share common ownership, have common business purpose, share

management, share tools, and share labor.

         9.    Corporate Defendant NHR HUMAN RESOURCES, LLC is a domestic limited

liability company organized under the laws of the State of New York with an address for service of

process and with a principal place of business at 256 West 116th Street 2nd Floor, New York, NY

10026.

         10.   Corporate Defendant NEW HOLLAND RESIDENCES, LLC is a domestic limited

liability company organized under the laws of the State of New York with an address for service of

process and with a principal place of business at 256 West 116th Street 3rd Floor, New York, NY

10026.

         11.   Corporate Defendant SUGAR HILL CAPITAL PARTNERS LLC is a foreign

limited liability company organized under the laws of the State of Delaware with an address for service

of process and with a principal place of business at 256 West 116th Street 2nd Floor, New York, NY

10026.

         12.   Defendants’ buildings are operated as a single integrated enterprise. The buildings

are commonly owned and/or managed by the Individual Defendants. Specifically, the buildings

are engaged in related activities, share common ownership, have common business purpose, share

management, share tools, and share labor.




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       13.     Defendant MARGARET GROSSMAN frequently visits each of the complexes.

She exercises—and also delegates to managers and supervisors—the power to (i) fire and hire, (ii)

determine rate and method of pay, (iii) set employee schedules, and (iv) otherwise affect the quality

of employment, including those of Plaintiff, FLSA Collective Plaintiffs and the Class. At all

relevant times, employees of the complexes could complain to Defendant MARGARET

GROSSMAN directly regarding any of the terms of their employment, and Defendant

MARGARET GROSSMAN would have the authority to effect any changes to the quality and

terms of employees’ employment, including changing their schedule, compensation, or

terminating or hiring such employees. Defendant MARGARET GROSSMAN had the power and

authority to supervise and control supervisors of Plaintiff, FLSA Collective Plaintiffs, and Class

members and could reprimand employees.

       14.     Defendant JEREMY SALZBERG frequently visits each of the complexes. He

exercises—and also delegates to managers and supervisors—the power to (i) fire and hire, (ii)

determine rate and method of pay, (iii) set employee schedules, and (iv) otherwise affect the quality

of employment, including those of Plaintiff, FLSA Collective Plaintiffs and the Class. At all

relevant times, employees of the complexes could complain to Defendant JEREMY SALZBERG

directly regarding any of the terms of their employment, and Defendant JEREMY SALZBERG

would have the authority to effect any changes to the quality and terms of employees’ employment,

including changing their schedule, compensation, or terminating or hiring such employees.

Defendant JEREMY SALZBERG had the power and authority to supervise and control

supervisors of Plaintiff, FLSA Collective Plaintiffs, and Class members and could reprimand

employees.




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       15.     At all relevant times, each of the Corporate Defendants was and continues to be an

“enterprise engaged in commerce” within the meaning of the FLSA, NYLL and the Regulations

thereunder.

       16.     At all relevant times, the work performed by Plaintiff, FLSA Collective Plaintiffs

and Class members was directly essential to the businesses operated by Defendants.

       17.     At all relevant times, Defendants employed at least eleven (11) employees within

the meaning of the FLSA and NYLL.

                      FLSA COLLECTIVE ACTION ALLEGATIONS

       18.     Plaintiff brings claims for relief as a collective action pursuant to FLSA Section

16(b), 29 U.S.C. § 216(b), on behalf of all non-exempt employees (including but not limited to

handymen, janitors, repairmen, porters, and superintendents, among others) employed by

Defendants on or after the date that is six years before the filing of the Complaint in this case as

defined herein (“FLSA Collective Plaintiffs”).

       19.     At all relevant times, Plaintiff and the other FLSA Collective Plaintiffs are and have

been similarly situated, have had substantially similar job requirements and pay provisions, and

are and have been subjected to Defendants’ decisions, policies, plans, programs, practices,

procedures, protocols, routines, and rules, all culminating in a willful failure and refusal to pay

them proper compensation for all hours worked. The claims of Plaintiff stated herein are essentially

the same as those of other FLSA Collective Plaintiffs.

       20.     The claims for relief are properly brought under and maintained as an opt-in

collective action pursuant to §16(b) of the FLSA, 29 U.S.C. 216(b). The FLSA Collective Plaintiffs

are readily ascertainable. For purposes of notice and other purposes related to this action, their

names and addresses are readily available from the Defendants. Notice can be provided to FLSA




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Collective Plaintiffs via first class mail to the last address known to Defendants.

                      RULE 23 CLASS ALLEGATIONS – NEW YORK

       21.     Plaintiff brings claims for relief pursuant to the Federal Rules of Civil Procedure

(“FRCP”) Rule 23, on behalf of all non-exempt employees (including but not limited to handymen,

janitors, repairmen, porters, and superintendents, among others ), employed by Defendants on or

after the date that is six years before the filing of the Complaint in this case as defined herein (the

“Class Period”).

       22.     All said persons, including Plaintiff, are referred to herein as the “Class.” The Class

members are readily ascertainable. The number and identity of the Class members are

determinable from the records of Defendants. The hours assigned and worked, the position held,

and rates of pay for each Class member may also be determinable from Defendants’ records. For

purposes of notice and other purposes related to this action, their names and addresses are readily

available from Defendants. Notice can be provided by means permissible under FRCP 23.

       23.     The proposed Class is so numerous that a joinder of all members is impracticable,

and the disposition of their claims as a class will benefit the parties and the Court. Although the

precise number of such persons is unknown because the facts on which the calculation of that

number rests presently within the sole control of Defendants, there is no doubt that there are more

than forty (40) members of the Class.

       24.     Plaintiff’s claims are typical of those claims, which could be alleged by any

member of the Class, and the relief sought is typical of the relief, which would be sought by each

member of the Class in separate actions. All the Class members were subject to the same

Defendants’ corporate practices of (i) failing to pay proper wages, including those due to time

shaving, (ii) failing to provide Class members with proper wage statements with every payment of




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wages, and (iii) failing to properly provide wage notices to Class members, at date of hiring and

annually, per requirements of the NYLL.

       25.     Defendants’ corporate-wide policies and practices affected all Class members

similarly, and Defendants benefited from the same type of unfair and/or wrongful acts as to each

Class member. Plaintiff and other Class members sustained similar losses, injuries and damages

arising from the same unlawful policies, practices and procedures.

       26.     Plaintiff is able to fairly and adequately protect the interests of the Class and have

no interests antagonistic to the Class. Plaintiff is represented by attorneys who are experienced and

competent in both class action litigation and employment litigation, and have previously

represented plaintiffs in wage and hour cases.

       27.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy, particularly in the context of the wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a large number of similarly situated

persons to prosecute common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because losses, injuries and damages suffered by each of the individual Class members are small

in the sense pertinent to a class action analysis, the expenses and burden of individual litigation

would make it extremely difficult or impossible for the individual Class members to redress the

wrongs done to them. On the other hand, important public interests will be served by addressing

the matter as a class action. The adjudication of individual litigation claims would result in a great

expenditure of Court and public resources; however, treating the claims as a class action would

result in a significant saving of these costs. The prosecution of separate actions by individual




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members of the Class would create a risk of inconsistent and/or varying adjudications with respect

to the individual members of the Class, establishing incompatible standards of conduct for

Defendants and resulting in the impairment of class members’ rights and the disposition of their

interests through actions to which they were not parties. The issues in this action can be decided

by means of common, class-wide proof. In addition, if appropriate, the Court can, and is

empowered to, fashion methods to efficiently manage this action as a class action.

       28.      Defendants and other employers throughout the state violate the NYLL. Current

employees are often afraid to assert their rights out of fear of direct or indirect retaliation. Former

employees are fearful of bringing claims because doing so can harm their employment, future

employment, and future efforts to secure employment. Class actions provide class members who

are not named in the Complaint a degree of anonymity, which allows for the vindication of their

rights while eliminating or reducing these risks.

       29.      There are questions of law and fact common to the Class which predominate over

any questions affecting only individual class members, including:

             a) Whether Defendants employed Plaintiff and the Class members within the meaning

                of the New York law;

             b) What are and were the policies, practices, programs, procedures, protocols and

                plans of Defendants regarding the types of work and labor for which Defendants

                did not properly pay Plaintiff and Class members;

             c) At what common rate, or rates subject to common methods of calculation, were and

                are Defendants required to pay Plaintiff and Class members for their work;

             d) Whether Defendants properly compensated Plaintiff and Class members for all

                hours worked under state and federal law;




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             e) Whether Defendants caused time-shaving by paying s and Class members only for

                those hours which they were scheduled to work, rather than for the actual hours that

                they worked;

             f) Whether Defendants knowingly to reimburse Plaintiff and Class members their

                “tools of the trade” and maintenance costs;

             g) Whether Defendants failed to pay Class members the spread of hours premium for

                days in which their workday exceeded ten (10) hours;

             h) Whether Defendants provided to Plaintiff and Class members annual wage notices,

                as required under the NYLL; and

             i) Whether Defendants provided to Plaintiff and Class members proper wage

                statements with each payment of wages as required by NYLL.

                                   STATEMENT OF FACTS

       30.      On or about December 10, 2018, Plaintiff JOSE ORTEGA HERNANDEZ was

hired by Defendants to work as a superintendent for a number of Defendants’ buildings and

apartments owned by Defendants. On or around October 11, 2020, Plaintiff was retaliated against

and terminated from his position with Defendants.

       31.      Throughout his employment by Defendants, Plaintiff was scheduled to work from

8:00am to 5:00pm, five (5) days per week minus one (1) hour for lunch. In total, Plaintiff was

scheduled to work for exactly forty (40) hours per week.

       32.      In reality, Plaintiff regularly worked from 7:00am to 8:00pm Monday through

Friday, without breaking for a full hour lunch, and spent an additional three (3) hours on Saturdays,

shoveling, sweeping, and disposing of trash. In total, Plaintiff actually regularly worked fifty-

eight (58) hours a week.




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       33.       Plaintiff would attempt to fill out timesheets indicating these extra hours worked,

but was informed that he could not put those extra hours on time sheets as Defendants did not pay

overtime.

       34.       At all times during Plaintiff’s employment, Plaintiff was designated to the care and

maintenance of over 70 units as defined by 12 NYCRR 141-1.2. Partially, through Plaintiff's

employment, Plaintiff was assigned to the maintenance and repair of a total of 151 units.

       35.       During Plaintiff’s employment, Plaintiff was often compensated at a rate less than

minimum wage.

       36.       Plaintiff was paid by Defendants from his start until December 31, 2018, at a rate

of $13.50 an hour. His compensation from January 1, 2019 until on or about May 2019, at a rate

of $15.00 an hour. Finally, Plaintiff was paid by Defendants from the month May 2019 until he

was retaliated against at a rate of $18.00.

       37.       Plaintiff was never paid a spread of hours premium for days lasting longer than ten

(10) hours.

       38.       Due to Defendants wrongful and improper policies, Plaintiff attempted to help

organize a union. Plaintiff specifically wanted addressed Defendants’ illegal policies of not

compensating workers for all the hours worked.

       39.       On October 10, 2019, a meeting to discuss unionization was scheduled to occur. In

attendance were to be Plaintiff, a Union Coordinator, the union’s attorney, Joel Davis, Company

Manager, and the Company’s lawyer.

       40.       On the day of the meeting, during the time the meeting was scheduled to take place,

Defendants attempted to prevent Plaintiff’s attendance by scheduling a last minute work order at

the same time.




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       41.     The day after this union meeting, Plaintiff was fired.

       42.     After retaliating against Plaintiff for his union sympathies, Defendants proceeded

to demand he vacate his apartment, demand that he confine himself to his apartment when in the

building, and confiscated $5,000 worth of Plaintiff’s tools, claiming any and all tools were

presumed to be Defendants.

       43.     Throughout their entire employments, Plaintiff, FLSA Collective Plaintiffs and

Class members were not properly compensated for all hours worked, due to Defendant’s policy of

time-shaving. Plaintiff, FLSA Collective Plaintiffs, and Class were regularly required to work

many more hours than they were compensated. Specifically, Plaintiff, FLSA Collective Plaintiffs

and Class members were informed that they would never be paid overtime, and were frequently

forced to work through their lunch hours, such required worked happened almost every day of the

week. Defendant’s policy resulted in Defendants’ time-shaving about eighteen (18) hours per week

for Plaintiff, FLSA Collective Plaintiffs and Class members. This sum was never correctly

reflected in employees’ work hours.

       44.     Defendants failed to provide Plaintiff and Class members with proper wage notices

at hiring and annually thereafter. Plaintiff did not receive proper wage notices either upon being

hired or annually since the date of hiring in violation of the NYLL.

       45.     Defendants frequently paid less than minimum wage to the Plaintiff, FLSA

Collective Plaintiffs and Class Members, pursuant to 12 NYCRR 141-1.2.

       46.     Plaintiff and Class members received wage statements that were not in compliance

with the NYLL. Plaintiff received fraudulent wage statements that failed to accurately reflect the

number of hours worked and their proper compensation.




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       47.     Defendants knowingly and willfully operated their business with a policy of not

compensating Plaintiff, FLSA Collective Plaintiffs and Class members for all hours worked due

to a policy of time-shaving.

       48.     Defendants knowingly and willfully operated their business with a policy of not

providing proper wage statements as required under the NYLL.

       49.     Defendants failed to provide proper wage notices to employees, at the beginning of

employment and annually thereafter, pursuant to the requirements of the NYLL.

       50.     Plaintiff retained Lee Litigation Group, PLLC to represent Plaintiff, FLSA

Collective Plaintiffs and Class members, in this litigation and have agreed to pay the firm a

reasonable fee for its services.

                                   STATEMENT OF CLAIM

                                            COUNT I

                  VIOLATION OF THE FAIR LABOR STANDARDS ACT

       51.     Plaintiff realleges and reavers Paragraphs 1 through 50 of this Class and Collective

Action Complaint as if fully set forth herein.

       52.     At all relevant times, Defendants were and continue to be employers engaged in

interstate commerce and/or the production of goods for commerce within the meaning of the

FLSA, 29 U.S.C. §§ 206(a) and 207(a). Further, Plaintiff and FLSA Collective Plaintiffs are

covered individuals within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

       53.     At all relevant times, Defendants employed Plaintiff and FLSA Collective Plaintiffs

within the meaning of the FLSA.

       54.     At all relevant times, each Corporate Defendants had gross annual revenues in

excess of $500,000.




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       55.     At all relevant times, the Defendants engaged in a policy of time-shaving, including

refusing to compensate Plaintiff and FLSA Collective Plaintiffs for all of their hours worked.

       56.     Plaintiff is in possession of certain records concerning the number of hours worked

by Plaintiff and FLSA Collective Plaintiffs and the actual compensation paid to Plaintiff and FLSA

Collective Plaintiffs. Further records concerning these matters should be in the possession and

custody of the Defendants. Plaintiff intends to obtain all records by appropriate discovery

proceedings to be taken promptly in this case and, if necessary, will then seek leave of Court to

amend this Complaint to set forth the precise amount due.

       57.     Defendants knew of and/or showed a willful disregard for the provisions of the

FLSA as evidenced by their failure to compensate Plaintiff and FLSA Collective Plaintiffs for all

hours worked when Defendants knew or should have known such was due.

       58.     Defendants failed to properly disclose or apprise Plaintiff and FLSA Collective

Plaintiffs of their rights under the FLSA.

       59.     As a direct and proximate result of Defendants’ willful disregard of the FLSA,

Plaintiff and FLSA Collective Plaintiffs are entitled to liquidated (i.e., double) damages pursuant

to the FLSA.

       60.     Due to the intentional, willful and unlawful acts of Defendants, Plaintiff and FLSA

Collective Plaintiffs suffered damages in an amount not presently ascertainable of unpaid wages,

including those resulting from time-shaving, and an equal amount as liquidated damages.

       61.     Plaintiff and FLSA Collective Plaintiffs are entitled to an award of their reasonable

attorneys’ fees and costs pursuant to 29 U.S.C. §216(b).

                                             COUNT II

                     VIOLATION OF THE NEW YORK LABOR LAW




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        62.     Plaintiff realleges and reavers Paragraphs 1 through 61 of this Class and Collective

Action Complaint as if fully set forth herein.

        63.     At all relevant times, Plaintiff and Class members were employed by the

Defendants within the meaning of the NYLL, §§2 and 651.

        64.     At all relevant times, the Defendants engaged in a policy of time-shaving, refusing

to compensate Plaintiff and Class members for all of their hours that they worked each week.

        65.     Defendants failed to properly notify employees of their overtime pay rate, in direct

violation of the NYLL.

        66.     Defendants failed to provide a proper wage and hour notice, at the date of hiring

and annually thereafter, to all non-exempt employees per requirements of the NYLL.

        67.     Defendants failed to provide proper wage statements with correct payment as

required by NYLL § 195(3).

        68.     Due to the Defendants’ NYLL violations, Plaintiff and Class members are entitled

to recover from Defendants their unpaid wages, resulting from time shaving, damages for

unreasonably delayed payments, reasonable attorneys’ fees, liquidated damages, statutory

penalties and costs and disbursements of the action, pursuant to NYLL.

                                            COUNT III

          RETALIATION UNDER THE NATIONAL LABOR RELATIONS ACT

        69.     Plaintiff realleges and reavers Paragraphs 1 through 68 of this Complaint as if fully

set forth herein.

        70.     Defendants retaliated against Plaintiff after he attempted to set up a union.

Defendants retaliated against Plaintiff by terminating his employment, forcing his vacatur from




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his apartment, forcing him to confine himself in his apartment when in the building that he lives,

and the taking of thousands of dollars of his belongings.

        71.     Defendants’ actions constitute a violation of 29 U.S.C. § 157 and 158(a)(4).

        72.     Plaintiff suffered mental distress and his future employment was compromised as

a result of Defendants’ retaliatory actions.

        73.     Due to Defendants’ retaliation, Plaintiff is entitled to recover from Defendants

compensatory damages and punitive damages and all other penalties the Court deems appropriate.

                                               COUNT IV

                    RETALIATION UNDER THE NEW YORK LABOR LAW

        74.     Plaintiff realleges and reavers Paragraphs 1 through 73 of this Complaint as if fully

set forth herein.

        75.     Defendants retaliated against Plaintiff after he complained to the Department of

Labor regarding their underpayment of compensation for all his hours worked due to Defendants’

policy of time-shaving. Defendants then retaliated against Plaintiff by terminating his employment

after she complained of Defendants’ improper employment policies.

        76.     Defendants’ actions constitute a violation of NYLL § 201-D.

        77.     Plaintiff suffered mental distress and his employment was compromised as a result

of Defendants’ retaliatory actions.

        78.     Due to Defendants’ retaliation under the NYLL, Plaintiff is entitled to recover from

Defendants compensatory damages and punitive damages and all other penalties the Court deems

appropriate.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff on behalf of himself, FLSA Collective Plaintiffs and Class

members, respectfully request that this Court grant the following relief:

           a. A declaratory judgment that the practices complained of herein are unlawful under

               the FLSA and the NYLL;

           b. An injunction against Defendants and their officers, agents, successors, employees,

               representatives and any and all persons acting in concert with them as provided by

               law, from engaging in each of the unlawful practices, policies and patterns set forth

               herein;

           c. An award of unpaid compensation due under the FLSA and NYLL due to

               Defendants’ policy of time-shaving;

           d. An award of statutory penalties as a result of Defendants’ failure to comply with

               NYLL wage notice and wage statement requirements;

           e. An award of liquidated and/or punitive damages as a result of Defendants’ willful

               failure to proper wages and compensation for all hours worked, pursuant to 29

               U.S.C. § 216;

           f. An award of liquidated and/or punitive damages as a result of Defendants’ willful

               failure to pay proper wages and compensation for all hours of work, pursuant to the

               NYLL;

           g. An award of unpaid spread of hour’s premium under the applicable state law;

           h. An award for unreimbursed tools of the trade.




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            i. An award of compensatory and punitive damages and all other penalties the Court

                deems appropriate as a result of Defendants’ unlawful retaliation against Plaintiff

                under 29 U.S.C. § 157 and 158(a)(4) and NYLL § 201-D;

            j. An award of prejudgment and post judgment interest, costs and expenses of this

                action together with reasonable attorneys’ and expert fees and statutory penalties;

            k. Designation of Plaintiff as Representative of the FLSA Collective Plaintiffs;

            l. Designation of this action as a class action pursuant to FRCP 23;

            m. Designation of Plaintiff as Representative of the Class; and

            n. Such other and further relief as this Court deems just and proper.


                                               JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury on all issues so triable as of right by jury.


Dated: April 17, 2020

                                                          Respectfully submitted,
                                                          By:   /s/ C.K. Lee
                                                                C.K. Lee, Esq.

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